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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division



 DEVIN G. NUNES,

                      Plaintiff,

        v.                                         Civil No.: 3:19-CV-00889

 CABLE NEWS NETWORK, INC.,

                      Defendant.


                                   [PROPOSED] ORDER

       AND NOW, this ____ day of ________, upon consideration of the Motion to Dismiss filed

by Defendant Cable News Network, Inc. under Federal Rule of Civil Procedure 12(b)(6), and the

briefing submitted by the parties, it is hereby ORDERED that:

   1. The motion is GRANTED.

   2. Plaintiff’s Complaint is DISMISSED WITH PREJUDICE.



       IT IS SO ORDERED.



Entered this ___ day of ________, 2020.



                                                          __________________________

                                                          Hon. Robert E. Payne
                                                          United States District Court Judge
